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HUH)HY, JW.UC.

IN THE UNITED sTATEs DISTRICT COURT
FOR THE wESTERN DISTRICT oF TENNESSEE 05 APR 23 PH 2= 36

WESTERN DIVISION
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LEO CLARK and LILLIE CLARK,
Plaintiffs,
V'S.

Civ. No. 04-2440-B[P

WALGREEN CO., and TEVA
PHARMACEUTICAL IN'DUSTRIES
LTD., TEVA PHARMACEUTICALS
NORTH AMERIC‘A,

Defendants.

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ORDER GRA.N'I'ING PLAINTIFFS’ MOTION FOR EXTENSION OF TIME FOR
SERVING RULE 26 EXPERT DISCLOSU'RES AND AMEN'.DING SCHEDULING ORDER

 

Before the Court is plaintiffs’ Motion for Extension of Time
for Serving Rule 26 Expert Disclosures, filed April 7, 2005 (Dkt.
#20). On April 26, 2005, the court held a hearing on the motion.
For good cause shown, the motion is GRANTED. The scheduling order
is amended as follows:

PLAINTIFFS' EXPERT DISCLOSU'RES: May 16, 2005

DEFEN'DANTS’ EXPERT DISCLOSURES: June 16, 2006

EXPERT DEPOSITIONS: July 15, 2005

DISPOSITIVE MOTIONS: Augl.lSt 15, 2005

Th:'s document entered on the docket sheet in compliance
wnh sure 58 and/or 79(.3} FRCP on ' " 09

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All other dates, including the trial date of October 31, 2005,

shall remain the same.

IT IS SO ORDERED.

M

TU M. PHAM
United States Magistrate Judge

i/./Q'//U

Date

 

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ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

